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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 19-21423-CIV-ALTONAGA/Goodman

  JUAN CARLOS GIL,

          Plaintiff,
  v.

  CITY OF AVENTURA, FLORIDA,

        Defendant.
  _______________________________/

                                            ORDER

          THIS CAUSE came before the Court on City of Aventura’s Motion to Dismiss Plaintiff’s

  Complaint [ECF No. 8]. Given Plaintiff’s Amended Complaint [ECF No. 10], it is

          ORDERED AND ADJUDGED that the Motion to Dismiss [ECF No. 8] is DENIED as

  moot.

          DONE AND ORDERED in Miami, Florida, this 24th day of May, 2019.




                                                      _________________________________
                                                      CECILIA M. ALTONAGA
                                                      UNITED STATES DISTRICT JUDGE

  cc:     counsel of record
